        Case 1:14-cv-00158-SM Document 18 Filed 10/24/14 Page 1 of 5




                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE



Robert Dee Burke

   v.                                         Civil No. 14-cv-158-SM

Warden, New Hampshire
State Prison, et al.1



                       REPORT AND RECOMMENDATION

    The claims and allegations set forth in Document Nos. 1,

10, 13, and 14 are presently before the court for preliminary

review, pursuant to 28 U.S.C. § 1915A(a) and LR 4.3(d)(1).


                                Background

    In this action, Burke, an inmate in the custody of the New

Hampshire Department of Corrections (“NHDOC”), alleges that the

defendants, acting with deliberate indifference to Burke’s

health, have denied him adequate medical care, in violation of

his rights under the Eighth Amendment.        Specifically, Burke

    1
      Burke has named the following defendants to this action:
New Hampshire State Prison Warden Richard Gerry; New Hampshire
Department of Corrections (“NHDOC”) Classifications Counselor
Kim Lacasse; the NHDOC Health Services Administrator, who is not
named; Correctional Managed Health Care d/b/a UConn Health
Management (“CMHC”); CMHC physician Dr. Omprakash Pillai; and
Dr. Kathleen Maurer, Director of Health Services for the
Connecticut Department of Corrections.
      Case 1:14-cv-00158-SM Document 18 Filed 10/24/14 Page 2 of 5




alleges that on January 13, 2012, he was transferred from the

NHDOC to the Connecticut Department of Corrections (“CDOC”) for

reasons related to his security.       Burke alleges that the NHDOC

health services administrator indicated on the transfer

paperwork that Burke was taking Doxycycline to treat a severe

acne condition, knowing that the information was incorrect, that

Burke was in fact taking Minocycline, and that Doxcycline was

ineffective in treating Burke.     Burke further asserts that

defendants Correctional Managed Health Care d/b/a UConn Health

Management (“CMHC”); CMHC physician Dr. Omprakash Pillai; and

Dr. Kathleeen Maurer, CDOC Director of Heatlh Services, failed

to provide him with adequate medical care during Burke’s

incarceration in the CDOC.    Burke alleges that as a result of

defendants’ acts or omissions, he has suffered physical and

emotional injuries.


                              Discussion

I.   Preliminary Review

     Upon reviewing Document Nos. 1, 10, 13, and 14, and

applying the standard set forth in this court’s June 4, 2014,

Order (doc. no. 7), this magistrate judge concludes that Burke

has failed to state any claim upon which relief might be granted
                                   2
       Case 1:14-cv-00158-SM Document 18 Filed 10/24/14 Page 3 of 5




arising out of any act or omission alleged either to have

occurred in New Hampshire, or to have involved New Hampshire

State Prison Warden Richard Gerry, NHDOC Classifications

Counselor Kim Lacasse, or the NHDOC Health Services

Administrator.   Accordingly, the court recommends that the

district judge dismiss all of the claims asserted against the

New Hampshire defendants, and all of the claims alleged to have

arisen from any act or omission occurring in New Hampshire.

II.   Transfer

      Pursuant to 28 U.S.C. § 1406(a), “[t]he district court of a

district in which is filed a case laying venue in the wrong

division or district shall dismiss, or if it be in the interest

of justice, transfer such case to any district or division in

which it could have been brought.”       In general, venue is

appropriate in a federal district court located in the district

“in which any defendant resides, if all defendants are residents

of the State in which the district is located,” or “in which a

substantial part of the events or omissions giving rise to the

claim occurred.”    28 U.S.C. § 1391(b)(1) and (2).

      If the district judge accepts this Report and

Recommendation, the court will dismiss all of the claims against

                                    3
      Case 1:14-cv-00158-SM Document 18 Filed 10/24/14 Page 4 of 5




the New Hampshire defendants, and all of the claims arising out

of any act and/or omission that occurred in New Hampshire.           The

remainder of Burke’s claims arise entirely from events occurring

in Connecticut and are asserted against Connecticut defendants.

An action asserting claims against the Connecticut defendants

may be brought in the District of Connecticut, Hartford

Division.   Plaintiff’s indigence suggests that a transfer to

that court, in lieu of dismissal, is in the interests of

justice.


                              Conclusion

    For the foregoing reasons, the district judge should

approve this Report and Recommendation and enter the following

order, dismissing claims and defendants from this action and

transferring this case:

         1.   The court dismisses, for failure to state a
    claim, all claims asserted in Document Nos. 1, 10, 13, and
    14, against New Hampshire State Prison Warden Richard
    Gerry, NHDOC Classifications Counselor Kim Lacasse, and the
    NHDOC Health Services Administrator, as well as all claims
    alleged to have arisen from any act or omission occurring
    in New Hampshire.

         2.   The court dismisses from this case defendants:
    New Hampshire State Prison Warden Richard Gerry, NHDOC
    Classifications Counselor Kim Lacasse, and the NHDOC Health
    Services Administrator.

                                   4
         Case 1:14-cv-00158-SM Document 18 Filed 10/24/14 Page 5 of 5




           3.   The clerk shall transfer the case including any
      claims asserted against the Connecticut defendants, to the
      District of Connecticut, Hartford Division, pursuant to 28
      U.S.C. § 1406(a), and shall close the case in this court.

      Any objections to this Report and Recommendation must be

filed within fourteen days of receipt of this notice.            See Fed.

R. Civ. P. 72(b)(2).      Failure to file objections within the

specified time waives the right to appeal the district court’s

order.    See United States v. De Jesús-Viera, 655 F.3d 52, 57

(1st Cir. 2011); Sch. Union No. 37 v. United Nat’l Ins. Co., 617

F.3d 554, 564 (1st Cir. 2010) (only issues fairly raised by

objections to magistrate judge’s report are subject to review by

district court; issues not preserved by such objection are

precluded on appeal).




                                    ______________________________
                                    Andrea K. Johnstone
                                    United States Magistrate Judge


October 24, 2014

cc:   Robert Dee Burke, pro se




                                      5
